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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF MONTANA, HELENA DIVISION

 ROXELLA LYONS,                                     Cause No. 6:21-CV-44-BMM-JTJ

            Plaintiff,
                                                     BRIEF IN SUPPORT OF
       v.                                            PLAINTIFF’S UNOPPOSED
                                                     FIRST MOTION TO AMEND
 DUSTON CLEMENTS, an individual                      COMPLAINT
 residing in Jefferson County,

             Defendant,


       After more than four months of litigation, the only thing that Roxella Lyons

can be sure of is that no one wants to take responsibility for her false arrest and

imprisonment. Jefferson County Sheriff’s Deputy Duston Clements blames a

Jefferson County dispatcher for telling him the arrest warrant against Ms. Lyons was

still valid, when it had been in fact rescinded. Jefferson County claims that Butte-

Silver Bow County gave them bad intel. Butte-Silver Bow says it followed

procedure (sort of), but that Jefferson County did not properly confirm whether or


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not the arrest warrant was still valid. Now, after giving the two counties their

statutory time frame to address Ms. Lyons’ tort claim and no resolution occurring,

Ms. Lyons requests the Court grant leave for her to add Jefferson County and Butte-

Silver Bow County as Defendants in this matter.

                                        ARGUMENT

       This case was initially filed against Duston Clements on June 7, 2021.

Clements filed a Motion to Dismiss on June 29, 2021. Therefore, the time to

amend the Complaint without leave of the Court has passed. Pursuant to Fed. R.

Civ. P. 15(a)(2), “a party may amend its pleading only with the opposing party’s

written consent or the court’s leave. The court should freely give leave when

justice so requires.” Attached as Doc. 24-1 is the written consent to amendment by

Jared Dahle, counsel for Clements.

       Additionally, Ms. Lyons notes that this motion is filed prior to the November

12, 2021 stipulated deadline for amending pleadings.

       By way of further explanation, Ms. Lyons sent a Notice of Tort Claim to

Jefferson County and Butte-Silver Bow County on June 7, 2021 as required by

Mont. Code Ann. § 2-9-301. More than 120 days have passed without a resolution

with the counties, therefore Ms. Lyons has met the prerequisites to add them as

Defendants.




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                                       CONCLUSION

       Based on the foregoing arguments, Roxella Lyons respectfully requests she

be granted leave to amend her Complaint to add Jefferson County and Butte-Silver

Bow County as Defendants.

       DATED this 8th day of November, 2021.


                                                     /s/ Lawrence E. Henke_
                                                     LAWRENCE E. HENKE
                                                     Attorney for the Plaintiff




                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 8th day of November, 2021, a

true and correct copy of the foregoing document was served on Plaintiff’s counsel

electronically through the CM/ECF system to:

       Jared S. Dahle
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                                             /s/ Lawrence E. Henke_______________
                                             LAWRENCE E. HENKE
                                             Attorney for the Plaintiff




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